 

CaSeB:ll-cv-OlO?Q-PSG Document304-11 Filedll/25/13 Pagel 0f2

f.)ScI 6L010'1\3'lle 3'0N 3533 'I" E[C)IAHE[S .tIO .LIOOHJ

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lHOcIH'H lHHJXE[ lNEl]/\IE[DNIH:[NI
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